Case 2:20-cv-00181-DBB-JCB Document 41-1 Filed 10/28/20 PageID.266 Page 1 of 7




                              EXHIBIT A
     Case 2:20-cv-00181-DBB-JCB Document 41-1 Filed 10/28/20 PageID.267 Page 2 of 7




                                                                               Hoge Fenton Jones & Appel, Inc.
                                                                             60 South Market Street, Suite 1400
                                                                                         San Jose, CA 95113
                                                                                 Phone No.: +01.408.287.9501

                                                                                         Federal Tax ID: XX-XXXXXXX
                                                                                            Invoice Date: 9/25/2020
                                                                                                 Invoice No: 177856

Valin Corporation
Joseph Nettemeyer
5225 Hellyer Avenue, Suite 250
San Jose, CA 95138


Engineered Roof De-Icing Inc v. Valin Corporation
Matter ID: 202020


Professional Fees                                                               Hours       Rate           Amount
08/03/2020     SD      Analysis re: best method to request dismissal of           2.10    700.00           1,470.00
                       case, to
                       review local rules and rules for sanctions for non-
                       compliance, Review, analyze and respond to
                       correspondence from local Utah counsel, Jared
                       Braithwaite re: same [2.1] .
08/04/2020     DJM     Prepare memorandum re: motion to                           3.10    475.00           1,472.50
                       dismiss/entry of default [3.1].
08/04/2020     SD      Review analysis and further analysis on motion             2.10    700.00           1,470.00
                       to dismiss action and review of Federal Rules of
                       Civil Procedure, Rules 41 and [

                       [0.5].
08/05/2020     DJM     Begin preparing motion to dismiss [2.9].                   2.90    475.00           1,377.50
08/05/2020     SD      Analysis re: Motion to Dismiss [0.4].                      0.40    700.00             280.00
08/06/2020     DJM     Revise motion to dismiss [0.9]; prepare                    2.00    475.00             950.00
                       declaration in support of motion to dismiss [0.4];
                       revise motion to dismiss [0.7].
08/06/2020     SD                                                                 3.30    700.00           2,310.00



                       Review and revise Motion to Dismiss [1.6];
     Case 2:20-cv-00181-DBB-JCB Document 41-1 Filed 10/28/20 PageID.268 Page 3 of 7
Valin Corporation                                                                Matter ID 202020
Joseph Nettemeyer                                                              Invoice No. 177856
Page: 2

08/07/2020    SD    Review and revise final motion to dismiss and      3.10   700.00      2,170.00
                    accompanying papers, correspondence to local
                    Utah counsel, Jared Braithwaite re: same for
                    filing and sanctions request, including analysis
                    and research relating thereto [1.3];




08/10/2020    DJM                                                      1.40   475.00        665.00

08/10/2020    SD                                                       1.60   700.00      1,120.00




08/11/2020    SD                                                       1.10   700.00        770.00




08/12/2020    DJM                                                      0.20   475.00         95.00
08/12/2020    SD    Multiple correspondence to and from local Utah     2.00   700.00      1,400.00
                    counsel, Jared Braithwaite re: Motion to Dismiss
                    and request for default, review final Utah
                    conformed motions, approve same and
                    instructions for filing [1.4];




08/13/2020    SD                                                       1.50   700.00      1,050.00


08/17/2020    SD                                                       0.40   700.00        280.00



08/18/2020    SD                                                       0.60   700.00        420.00

                        .
08/24/2020    SD                                                       0.10   700.00         70.00
     Case 2:20-cv-00181-DBB-JCB Document 41-1 Filed 10/28/20 PageID.269 Page 4 of 7
Valin Corporation                                                                          Matter ID 202020
Joseph Nettemeyer                                                                        Invoice No. 177856
Page: 3

08/25/2020    SD                                                             0.40       700.00        280.00

08/26/2020    SD                                                             0.70       700.00        490.00

08/28/2020    SD                                                             0.80       700.00        560.00


                                                                                    Total Fees:     18,700.00



        Summary
        Professional                                            Hours       Rate          Amount
        Shella Deen, Shareholder                                20.20      700.00       14,140.00
        Daniel J. Marsh, Associate                                  9.60   475.00        4,560.00
                                                   Totals:      29.80                   18,700.00

Expenses                                                                                            Amount
08/31/2020             On Line Research Fees August 1 - 31, 2020.                                     91.50
                                                                           Total Expenses:            91.50




                                            Due Upon Receipt

              Interest accrues on balances unpaid after 60 days at a rate of 10% per annum

                           Please include your invoice number on your payment

              To pay by VISA or MasterCard please contact our Accounts Receivable Dept
                               at 408-287-9501 or AR@hogefenton.com
     Case 2:20-cv-00181-DBB-JCB Document 41-1 Filed 10/28/20 PageID.270 Page 5 of 7




                                                          Hoge Fenton Jones & Appel, Inc.
                                                        60 South Market Street, Suite 1400
                                                                    San Jose, CA 95113
                                                            Phone No.: +01.408.287.9501

                                                                    Federal Tax ID: XX-XXXXXXX
                                                                      Invoice Date: 10/26/2020
                                                                            Invoice No: 178520

Valin Corporation
Joseph Nettemeyer
5225 Hellyer Avenue, Suite 250
San Jose, CA 95138


Engineered Roof De-Icing Inc v. Valin Corporation
Matter ID: 202020


Professional Fees                                          Hours       Rate           Amount
10/07/2020     SD                                            0.80    700.00             560.00



10/09/2020     SD                                            1.70    700.00           1,190.00




                                                    .
10/12/2020     SD                                            2.90    700.00           2,030.00
     Case 2:20-cv-00181-DBB-JCB Document 41-1 Filed 10/28/20 PageID.271 Page 6 of 7
Valin Corporation                                                                     Matter ID 202020
Joseph Nettemeyer                                                                   Invoice No. 178520
Page: 2

10/13/2020    SD    Review, revise and draft Reply brief to Motion to   5.50       700.00      3,850.00
                    Dismiss and declaration in support [1.6];




                                                            ; Prepare
                    for motion hearings, and strategy for hearing
                    [1.8].
10/14/2020    SD    Final preparation for hearing on motion to          3.10       700.00      2,170.00
                    dismiss, review case law [1.0]; Participate in
                    hearing before Judge Barlow [0.7];


                                   Review minute orders and orders
                    from court [0.2];




10/16/2020    SD                                                        0.90       700.00        630.00




10/19/2020    SD    Review Court's order and begin work on              0.90       700.00        630.00
                    declaration in support of sanctions [0.5];




10/20/2020    SD                                                        1.00       700.00        700.00




10/21/2020    SD    Review and analysis of Order issued by Court for    0.90       700.00        630.00
                    actions required of plaintiff Engineered [0.3];
                    Follow-up re: invoices, declaration and assess
                    further handling [0.6].
10/26/2020    SD    Review and redact pertinent invoices from local     1.50       700.00      1,050.00
                    Utah counsel, Jared Braithwaite and Hoge, draft
                    and finalize declaration of Attorney S. Deen in
                    support of sanction request, following Court
                    Order for same [1.5].
                                                                               Total Fees:    13,440.00
    Case 2:20-cv-00181-DBB-JCB Document 41-1 Filed 10/28/20 PageID.272 Page 7 of 7
Valin Corporation                                                                        Matter ID 202020
Joseph Nettemeyer                                                                      Invoice No. 178520
Page: 3

        Summary
        Professional                                           Hours        Rate        Amount
        Shella Deen, Shareholder                                19.20     700.00     13,440.00
                                                  Totals:       19.20                13,440.00

                                                                   Total Current Billing:        13,440.00
                                                                    Previous Balance Due:        10,682.50
                                                                                Payments:             0.00
                                                                                Total Due:       24,122.50




                                           Due Upon Receipt

              Interest accrues on balances unpaid after 60 days at a rate of 10% per annum

                          Please include your invoice number on your payment

              To pay by VISA or MasterCard please contact our Accounts Receivable Dept
                               at 408-287-9501 or AR@hogefenton.com
